               Case 5:20-cv-00455-EJD Document 62 Filed 02/14/22 Page 1 of 3



 1   Glenn Rothner (SBN 67353)
     ROTHNER SEGALL & GREENSTONE
 2   510 South Marengo Avenue
     Pasadena, CA 91101
 3
     grothner@rsglabor.com
 4   Telephone: (626) 796-7555
     Facsimile: (626) 577-0124
 5
     Daniel A. Zibel (admitted pro hac vice)
 6   Aaron S. Ament (admitted pro hac vice)
     NATIONAL STUDENT LEGAL DEFENSE NETWORK
 7
     1015 15th Street Northwest, Suite 600
 8   Washington, D.C. 20005
     dan@defendstudents.org
 9   aaron@defendstudents.org
     Telephone: (202) 734-7495
10
11   Counsel for Plaintiffs

12                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
13
14   ISAI BALTEZAR & JULIE CHO,
15                                                       Case No. 20-cv-00455-EJD
                    Plaintiffs,
16                                                       PLAINTIFFS’ REQUEST FOR
     vs.                                                 JUDICIAL NOTICE
17
     MIGUEL CARDONA, in his official capacity            Date:    March 24, 2022
18
     as Secretary of Education, & UNITED                 Time:    9:00 am
19   STATES DEPARTMENT OF EDUCATION,                     Place:   Courtroom 4, 5th Floor
                                                         Judge:   Hon. Edward J. Davila
20                  Defendants.

21
                                  REQUEST FOR JUDICIAL NOTICE
22
            In connection with an ongoing rulemaking process, Defendants have released and
23
     publicized two “Issue Paper[s]” related to their intent to re-regulate on the topic of “Gainful
24
     Employment.” See generally Dkt. 60 (describing, in their Notice of Supplemental Decision, the
25
     Department’s December 2021 decision to commence negotiated rulemaking); Dkt. 50 at 16 n.12.
26
     True and correct copies of the Issue Papers are attached hereto as Exhibits A & B and are
27
28


      PLAINTIFFS’ REQUEST FOR JUDICIAL NOTICE, Case No. 20-cv-455-EJD                                  1
                Case 5:20-cv-00455-EJD Document 62 Filed 02/14/22 Page 2 of 3



 1   available on the Department’s website.1
 2            The Issue Papers are relevant to the vacatur issue before the Court for two reasons. First,
 3   the Issue Papers confirm that the Department “has demonstrated that it will not . . . adopt the

 4   same rule [i.e., the Repeal] upon remand.” In re Clean Water Act Rulemaking, --- F. Supp. 3d ----
 5   , 2021 WL 4924844, at *8 (N.D. Cal., Oct. 21, 2021). Second, the papers confirm the seriousness
 6   of the errors in the Repeal insofar as the Department’s current legal interpretation (but not the
 7   erroneous interpretation espoused in the Repeal) is that Congress delegated it the authority to
 8   define what it means to “prepare students for gainful employment in a recognized occupation.”
 9   This issue is squarely raised in Count 1. See generally Compl. [Dkt. 1] ¶¶ 351–57; Dkt. 50 at 5–6
10   (summarizing Count 1).
11            As set forth in prior briefing, see Dkt. 50 at 5, both issues are relevant to the Court’s
12   application of Allied-Signal, Inc. v. U.S. Nuclear Regul. Comm’n, 988 F.2d 146 (D.C. Cir. 1993).
13   Accordingly, plaintiffs request that the Court take judicial notice of the Issue Papers. See
14   Eidmann v. Walgreen Co., 522 F. Supp. 3d 634, 642 (N.D. Cal. 2021) (Davila, J.) (“Documents
15   published on government-run websites are proper for judicial notice given their reliability.”)
16   appeal dismissed, No. 21-15659, 2021 WL 4785889 (9th Cir. May 17, 2021).
17
18                                               #      #       #
19
20
21
22
23   1
              See U.S. Dep’t of Educ., Office of Postsecondary Education, Issue Paper 3: Gainful
     Employment (Session 1: January 18-21, 2022), available at
24
     https://www2.ed.gov/policy/highered/reg/hearulemaking/2021/3gainfulemployment.pdf (Exhibit
25   A); U.S. Dep’t of Educ., Office of Postsecondary Education, Issue Paper 3: Gainful Employment
     (Session 2: February 14-18, 2022), available at
26
     https://www2.ed.gov/policy/highered/reg/hearulemaking/2021/ip3ge.pdf (Exhibit B). These
27   documents may also be located by visiting the Department’s main page for 2021-2022
     Rulemaking, and clicking through to the materials for Session 1 or Session 2 (respectively) of the
28
     Institutional and Programmatic Eligibility Committee Rulemaking, available at:
     https://www2.ed.gov/policy/highered/reg/hearulemaking/2021/index.html?src=rn.
         PLAINTIFFS’ REQUEST FOR JUDICIAL NOTICE, Case No. 20-cv-455-EJD                                    2
              Case 5:20-cv-00455-EJD Document 62 Filed 02/14/22 Page 3 of 3



 1                                                 Respectfully submitted,
 2                                                 Glenn Rothner (SBN 67353)
                                                   ROTHNER SEGALL & GREENSTONE
 3
                                                   Daniel A. Zibel (admitted pro hac vice)
 4
                                                   Aaron S. Ament (admitted pro hac vice)
 5                                                 NATIONAL STUDENT LEGAL DEFENSE
                                                   NETWORK
 6
                                                   By: /s/ Daniel A. Zibel          .
 7                                                 DANIEL A. ZIBEL
 8
     Date: February 14, 2022                       Counsel for Plaintiffs
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

27
28


      PLAINTIFFS’ REQUEST FOR JUDICIAL NOTICE, Case No. 20-cv-455-EJD                        3
